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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION

JOSE MAESTRI,

Plaintiff,
-VS- CASE NO.!
CREDIT ONE BANK, N.A.,

Defendant.

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COMES NOW Plaintiff, lose Maestri, by and through the undersigned counsel, and sues
Defendant, Credit One Bank, N.A. (hereinafter “Credit One”), and in support thereof respectfully
alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”)
and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

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l. The TCPA Was enacted to prevent companies like Credit One from invading
American citizen’s privacy and prevent abusive “robo-Calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mfms v. Arrow Fz'n. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,
L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256
Scourge of modern civilization, they Wake us up in the morning', they interrupt our dinner at
night', they force the Sick and elderly out of bed; they hound us until We Want to rip the telephone

out of the wall.”’ 137 Cong. Rec. 30, 321 (1991). Senator Hollings presumably intended to give

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telephone subscribers another option: telling the autodialers to simply stop calling.” Osorz`o v.
Slate Farm chk, F.S.B., 746 F. 3d 1242(11lh Cir. 2014).

4. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Ernpower Consumers
Against Unvvanted Robocalls, Texts to Wireless Phones, Federal Communications Comrnission,
(May 27, 2015), http://transition.fcc.gov/Dailv Releases/Dailv Business/ZU]5/db0527/DOC-

333676A1.pdf.

JURISDICTION AND VENUE
5. This is an action for damages exceeding Fifteen Thousand Dollars ($15,000.00)

exclusive of attorney fees and costs.
6. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. §1331.

7. The alleged violations described in the Complaint occurred in Hillsborough

County, Florida.

FACTUAL ALLEGAT|ONS
8. Plaintiff is a natural person, and citizen of the State of Florida, residing in
I-Iillsborough County, Florida
9. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

10. Plaintiff is an “alleged debtor.”
11. Plaintiff is the “called party.” See Breslow v. We[!s Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorzo v. Srare Farm Bank, F.S.B., 746 F.sd 1242 (11“1 Cir. 2014).

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12. Defendant, Credit One1 is a federally insured bank with its principal place of
business located at 585 Pilot Rd., Las Vegas, NV 891 19.

13. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statute §559.55(6).

14. Credit One called Plaintiff approximately eight hundred (800) times Since
December 1, 2014, in an attempt to collect a debt.

15. Credit One attempted to collect a debt from Plaintiff by this campaign of
telephone calls.

16. Credit One intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day and on back to back days, with such frequency as can
reasonably be expected to harass.

17. Upon information and belief, some or all of the calls Credit One made to
Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”
Which has the capacity to store or produce telephone numbers to be called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(l) (hereinafter

“autodialer calls”). Plaintiff will testify that he knew it was an autodialer because of the vast
number of calls he received and because he heard a pause when he answered his phone before a
voice came on the line.

18. Beginning on or about December l, 2014, Credit One began bombarding
Plaintiffs cellular telephone (***) ***-4538, in an attempt to collect a debt over an outstanding
credit card balance.

19. On or about January, 2015, plaintiff answered a call from Credit One and

informed Credit One’s agent that he had no money at the moment to pay on the account and to
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please stop calling him. Credit One’s agent responded that if he did not pay his debt then Credit
One would place it on his credit report and pursue Plaintiff through their attorneys

20. On or about February 12, 2016, Plaintiff answered and spoke to agent of Credit
One known only as “Jamie.” Plaintiff instructed Jamie that he Wished for Credit One to stop
calling him, to which Jamie tried explaining to Plaintiff that he was calling to collect a debt.
Plaintiff reiterated that he wanted the calls to stop.

21. On at least three (3) other occasions Plaintiff would answer and speak to agents of
Credit One and inform them that he had no money and to stop calling one, during one said
occasion, upon a Credit One agent pushing for payment, Plaintiff asked Credit One if they
Wanted Plaintiff to take food off his table in order to pay Credit One,

22. Despite Plaintiff`S requests, Credit One chose to continue its onslaught of
automated calls to Plaintiff’s cellular telephone.

23. Due to the length of time he was receiving calls from Credit One, as well as the
volume of said cails, Plaintiff was unable to catalogue each and every call received, however
attached hereto as Exhibit “l” is a small sampling of the automated calls Credit One Subject
Plaintiff to.

24. Credit One has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as it did to Plaintiff`s cellular telephone in
this case.

25. Credit One has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in this case, With no
way for the Plaintiff or Credit one to remove the number.

26. Credit One’s corporate policy is structured so as to continue to call individuals

like Plaintiff, despite these individuals explaining to Credit One they wish for the calls to cease.
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27. Credit One has numerous other federal lawsuits pending against it alleging similar
violations as stated in this Complaint.

28. Credit One has had numerous complaints from consumers across the country
against it asking to not be called, however, Defendant continues to call the consumers

29. Credit One’s corporate policy provided no means for Plaintiff to have his number
removed from the call list.

30. Credit One has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

31. Not a single call placed by Credit One to Plaintiff were placed for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

32. Credit One willfully and/or knowingly violated the TCPA With respect to
Plaintiff,

COUNT l
(Violation of the TCPA)

33. Plaintiff incorporates above Paragraphs one (l) through thirty-two (32) herein.
34. Def`endant willfully violated the TCPA with respect to Plaintiff, especially for each of the
auto-dialer calls made to Plaintift’s cellular telephone after Plaintiff notified Defendant that
Plaintiff wished for the calls to stop.
35. Credit One repeatedly placed non-emergency telephone calls to Piaintiff`s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(l )(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Credit One for statutory damages, punitive damages, actual damages, treble

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damages, costs, interest, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

COUNT II
(Violation of the FCCPA)

36. Plaintiff incorporates above Paragraphs one (l) through thirty-two (32) herein.
37. At all times relevant to this action Credit One is subject to and must abide by the law of
Florida, including Florida Statute § 559.72.
38. Credit One has violated Florida Statute § 559.72(7) by willfully communicating with the
debtor or any member of his or her family with such frequency as can reasonably be expected to
harass the debtor or his or her family
39. Credit One has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of his or
her family.
40. Credit One’s actions have directly and proximately resulted in Plaintiff`s prior and
continuous sustaining of damages as described by Florida Statute § 559.77.

WI-IEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Credit One for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

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Respectfully sub itted,

  

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JOSE MAESTRI PARTIAL CALL LOG

       

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1 06-12-15 4210 PM 888-338-3804
2 06-13-15 12201 PM 888-338-3804
3 06-13-15 2229 PM 888-338-3804
4 06-13-15 3248 PM 838-338-3804
5 06-15-15 8137 AM 888-338-3804
6 06-15-15 9:23 AM 888-333-3804
7 06-15-15 12;19 PM 888-338-3804
8 06-15-15 4235 PM 888-338-3804
9 06-15-15 624-7 PM 888-338-3804
10 06-16-15 9217 AM 888-338-3804
11 06-16-15 11129 AM 888-338-3804
12 06-16-15 1140 PM 888-338-3804
13 06-16-15 2126 PM 888-338-3804
14 06-16-15 3232 PM 388-338-3804
15 06-16-15 4!18 PM 888-338»3804
16 06-17-15 8227 AM 888-338-3804
17 06-17-15 9214 AM 388-338»3804
18 06-17-15 11§41 AM 838-333-3804
19 06-17-15 1225 PM 888-338-3804
20 06-17-15 3201 PM 888-338~3804
21 06-18-15 8258 AM 888-338-3804
22 06-18-15 10206 AM 888-338-3804
23 06-18-15 11:44 AM 888-338-3804
24 06-18-15 1110 PM 888-338-3804
25 06-13-15 2226 PM 888-338-3804
26 06-18-15 3!35 PM 888-338-3804
27 06-19-15 8221 AM 888-338-3804
28 06-19-15 9511 AM 888-338-3304
29 06-19-15 10257 AM 888-338-3804
30 06-19-15 11246 AM 888-338-3804
31 06-19-15 1152 PM 883-338-3804
32 06-19-15 3219 PM 888-338-3804
33 06-20-15 8225 AM 388-338-3804
34 06-20-15 9!13 Al\/[ 888-338-3804
35 06-20-15 11:26 AM 388-338-3804
36 06-20-15 12!13 PM 888-338-3804
37 06-21-15 2226 AM 888-338-3804
33 06»22-15 8247 AM 888-338-3804
39 06-22-15 12206 PM 888-338-3804
40 06-22-15 1200 PM 838-333-3804
41 06-22-15 3240 PM 888-333-3804
42 06-22-15 6255 PM 388-338-3804
43 06-23-15 9121 AM 888~338‘-3804

EXHIBIT

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44 06-23-15 11:33 AM 888-338-3804
45 06-23-15 l:56 PM 888-338-3804
46 06-23-15 2142 PM 888-338-3804
47 06-23-15 4:00 PM 888-338-3804
48 06-23-15 4:53 PM 888-338~3804
49 06-24-15 8:26 AM 888-338~3804
50 06-24-15 10:09 Al\/i 888-338-3804
51 06-24-15 11:48 AM 888-338-3804
52 06-24-15 12:35 PM 888-338-3804
53 06-24-15 1156 Pl\/I 888-338-3804
54 06-24-15 2:42 PM 888-338-3804
55 06-24-15 3:37 PM 883-338-3804
56 06-25-15 8:59 AM 888-338-3804
57 06-25-15 11:22 AM 888-338-3804
58 06-25-15 1:03 PM 888-338-3804
59 06-25-15 2:48 PM 888-338-3804

60 06-25-15 4:26 PM 888-338-3804

